       3:18-cv-03224-SEM-TSH # 7           Page 1 of 2                                             E-FILED
                                                               Monday, 17 December, 2018 03:40:34 PM
                                                                          Clerk, U.S. District Court, ILCD

                            CENTRAL DISTRICT OF ILLINOIS


BONE DRY, INC.                      )
                                    )
                      Plaintiff,    )
                                    )
       v.                           )
                                    )
JEFF DELONJAY                       )       Case No. 3:18-cv-03224-SEM-TSH
                                    )
                      Defendant.    )


     STATUS REPORT CONCERNING SERVICE OF PROCESS ON DEFENDANT

        Bone Dry, Inc., through its counsel, and in response to this Court’s December 10, 2018
order, hereby submits its status report showing cause as to why the case should not be dismissed
without prejudice for want of prosecution.

        The parties have reached an agreement in principle, and are in the process of completing
a draft settlement agreement. As a result, Bone Dry, Inc. respectfully requests that the Court
extend the time for service of the complaint sixty days, to February 7, 2019.

                                                   Respectfully submitted,




Dated: December 17, 2018                           Jonathan P. Froemel
                                                   BARNES & THORNBURG LLP
                                                   One N. Wacker Drive, Suite 4400
                                                   Chicago, Il 60606
                                                   312-357-1313
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                                                   Attorneys for Bone Dry, Inc.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2018, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system. A courtesy copy was provided to the Defendant
via e-mail.



                                                              BARNES & THORNBURG LLP


                                                                  By /s/ Jonathan P. Froemel




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